

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-73,411-01






EX PARTE BRANDI EDWARDS, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 20023-A IN THE 336TH DISTRICT COURT


FROM FANNIN COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of one count of
aggravated sexual assault of a child, sentenced to sixty years' imprisonment and one count of
indecency with a child and sentenced to twenty years' imprisonment.   

	Applicant contends that her counsel rendered ineffective assistance because counsel failed
to timely file a notice of appeal.  

	Applicant has alleged facts that, if true, might entitle her to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall obtain a response from counsel regarding Applicant's claim of ineffective assistance of counsel
on appeal.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).

	It appears that Applicant is represented by counsel.  If the trial court elects to hold a hearing,
it shall determine if Applicant is represented by counsel, and if not, whether Applicant is indigent. 
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. C ode Crim. Proc. art. 26.04.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 

Filed: March 17, 2010

Do not publish


